                         UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF WISCONSIN


        UNITED STATES OF AMERICA
                                                                ARRAIGNMENT & PLEA
                         v.                                          HEARING
                                                                     (By Zoom)

          STEVEN R BRANDENBURG                                   Case No. 21-cr-0025-BHL


HONORABLE BRETT H. LUDWIG, presiding                                        Time Called: 10:12 a.m.
Proceeding Held: 2/9/2021                                                Time Concluded: 11:32 a.m.
Deputy Clerk: Melissa P.                                                           Tape: 11
Appearances:
UNITED STATES OF AMERICA by:                         AUSAs Kevin C Knight, Rachel Baron, and Ross S
                                                     Goldstein
Steven R Brandenburg, by zoom and by:                Jason D Baltz
US PROBATION OFFICE by:                              James Fetherston
INTERPRETER: N/A


☐ Original Indictment   ☐ Superseding Indictment     ☒ Information      ☒ Felony    ☐ Misdemeanor

☒ Copy of information received by defendant           ☒ Defendant advised of maximum penalties: For
                                                        each count, 10 years imprisonment, $250K fine, 3
                                                        years SR, $100 special assessment, and court
                                                        ordered restitution.


☒ Defense counsel advises that defendant wishes to   ☒ Court advises defendant as to:
  enter a plea of guilty                               ☒ Elements of the offense
☒ Plea agreement filed                                 ☒ Maximum penalties
☒ Defendant has reviewed plea agreement with           ☐ Mandatory minimum sentence
  counsel and is satisfied w/representation            ☒ Forfeiture provision
☒ Defendant sworn                                      ☒ Sentencing guidelines
☒ Defendant advised that false statements made         ☒ Rule 11(b) Rights
  under oath may result in prosecution for perjury     ☒ Waiver of appeal rights
☒ Court questions defendant as to background,        ☒ Government provides factual basis as set forth in
  education, medical history, drug usage               plea agreement


☒ GUILTY plea entered to Count(s) 1-2           ☒ Court finds Defendant’s plea to be knowing and
  of the information                              voluntary and that a factual basis exists for the plea
                                                  ☒ Defendant adjudged guilty
☒ CHARGE: 18:1365(a)(1) - ATTEMPT TO TAMPER WITH CONSUMER PRODUCT
☒ Sentencing set for: June 8, 2021 at 9:00 a.m.

                Case 2:21-cr-00025-BHL Filed 02/09/21 Page 1 of 2 Document 12
☒ Defendant released ☒ with conditions.
  SEE Order Setting Conditions of Release.



Defendant consented to proceeding by videoconference.

The Court found that the current COVID situation warrants holding this arraignment, the waiver of indictment,
and plea hearing by videoconference. Accordingly, in the interests of justice, to avoid unnecessary delay, and,
with the defendant’s consent, the hearing proceeded by videoconference.

Defendant waived indictment on the record and the Court approved the waiver.

Government moved for defendant to be detained pending sentencing. The defendant’s counsel argued against
detention pending sentencing. The Court denied the government’s motion and ordered the defendant released
with conditions pending sentencing.




                 Case 2:21-cr-00025-BHL Filed 02/09/21 Page 2 of 2 Document 12
